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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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11   EMILY HEERDE, et al.,                  Case No. 2:23-cv-04493-FLA (MAAx)
12                         Plaintiffs,
                                            ORDER TO SHOW CAUSE
13              v.
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     LEARFIELD COMMUNICATIONS,
15   LLC, et al.,
16                         Defendants.
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1          On September 21, 2023, Defendants Learfield Communications, LLC and
2    Sidearm Sports, LLC (together, “Learfield”) filed a Motion to Dismiss Plaintiffs
3    Emily Heerde and Mark Haines’s (together, “Plaintiffs”) Complaint (the “Motion”).
4    Dkt. 38. In the Motion, Learfield stated: “In the event Plaintiffs’ Complaint is not
5    dismissed in its entirety, Learfield intends to file a motion to transfer this action to the
6    Northern District of New York where Learfield will transfer three other pending
7    VPPA cases, brought against the same Learfield entities by the same Plaintiffs’
8    firm[.]” Dkt. 38-1 at 9 n. 2.
9          28 U.S.C. § 1404(a) provides: “For the convenience of parties and witnesses, in
10   the interest of justice, a district court may transfer any civil action to any other district
11   or division where it might have been brought or to any district or division to which all
12   parties have consented.”
13         Accordingly, the court ORDERS the parties to Show Cause in writing by
14   January 3, 2024, why this action should not be transferred to the United States District
15   Court for the Northern District of New York, pursuant to 28 U.S.C. § 1404(a). Briefs
16   shall not exceed fifteen (15) pages.
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18         IT IS SO ORDERED.
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20   Dated: December 13, 2023
21                                                    _______________________________
                                                      FERNANDO L. AENLLE-ROCHA
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                                                      United States District Judge
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